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              EXHIBIT 8
                       Case 3:23-cv-03007-VC          Document 84-10           Filed 09/16/24        Page 2 of 2




Direct Messages between Mark Schobinger and Courtney McMillian on 2022-10-19

                                                                  CM
                                                                  CM

cpaul (Courtney McMillian)
                 PM
2022-10-19 09:34 PM'

https://docs.google.com/document/d/loyjY7l DGTGx0UydOuXceVfqnCNGoRZQLfeJceSnWYnQ/edit#bookmark=id .auurm3mx04
https://docs.google.com/document/dfloyjY71DGTGx0UydOuXceVfqnCNGoRZQLfeJceSnWYnQ/edit#bookmark=id.auurm3mx04
6j

                                                                  MS
                                                                  MS

mschobinger (Mark Schobinger)
2022-10-19 10:06 PM

                                        https:/Idocs.google.com/documentld/1V-0wANawrbjeFlDOFdHa-
Here is the link to the 2022 PBP draft: https://docs.google.com/document/d/1V-0wANawrbjeFIDOFdHa-
hLLAnrMaKrxJOKCCKNrDWY/edit?usp=sharing
It's sitting in red-line format. But all of those things have been vetted. We just never accepted the final changes.
It's

                                                                  MS
                                                                  MS

mschobinger (Mark Schobinger)
mschobinger
2022-10-19 10:17 PM

The pbp plan does not specifically contemplate a
                                               achange of control. So it is really unclear to me if the bonus plan would permit
paying out. My argument would be to fund based on actual results at time of close which we know would be the floor (50%). And
then it is all mechanical and based on eligible earnings that are prorated through the close date. But IIthink one could make an
argument similar
argument similar to
                 to what
                    what has
                         has been
                             been used
                                  used in
                                       in other
                                          other matters
                                                matters                                                     where the
                                                                                                            where the buyer would

have to consent first.
In any event, if we are able to do the bonus, we must also reconcile the timing of paying it out to avoid 409A issues for US
In
employees. Specifically, if it lands that the close constitutes the end of the FY, IIdon't think we could necessarily pay these out in
March because that would put us well past the 2.5 month envelope of short-term deferrals. This may not be top of mind for
anyone right
anyone right now
             now because
                 because other things are higher priority. But IIdon't want this to slip thru the cracks without a
                                                                                                                 aconvo either.

                                                                  MS

mschobinger (Mark Schobinger)
2022-10-19 10:19 PM

                             EIP bonus document:
Similarly, here is the staff BP
https://www.sec.gov/Archives/edgar/data/1418091/0001 19312513390321/d564001 dex109.htm
https://www.sec.gov/Archives/edgar/data/1418091/000119312513390321/d564001dex109.htm
It's the same issue - doesn't contemplate change of control. And so same issues as the general population (are they entitled to it,
It's                   -




and timing
and timing of
           of paying
              paying it
                     it out
                        out to
                            to avoid
                               avoid 409A
                                     409A issues).
                                          issues).

                                                                  MS
                                                                  MS

mschobinger (Mark Schobinger)
                 FM
2022-10-19 10:19 PM

It's a
It's aheavy topic,


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